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  In re:
                                                                Chapter 11 Case No.

  HO WAN KWOK[1]                                                22-50073 (JAM)

                                      Debtor.                   (Jointly Administered)



  Pacific Alliance Asia Opportunity Fund L.P.,

                                      Plaintiff,
                                                                Adv. Pro. No. 22-05032 (JAM)
  vs.

  Ho Wan Kwok,

                                      Defendant


          DECLARATION OF DOUGLASS BARRON IN SUPPORT OF
 JOINT MOTION FOR ENTRY OF AN ORDER HOLDING HO WAN KWOK IN CIVIL
              CONTEMPT FOR FAILURE TO COMPLY WITH
                  TEMPORARY RESTRAINING ORDER


I, Douglass Barron, declare:

            1.       I am an attorney admitted to practice law in the State of New York and State of

Oregon and am an associate at the law firm of Paul Hastings, 200 Park Avenue, New York, NY

10166, counsel for the appointed Chapter 11 Trustee to the Individual Debtor, Kwok’s estate (the

“Trustee”). I respectfully submit this Declaration in support of the Trustee’s and Pacific

Alliance Asia Opportunity Fund L.P.’s (“PAX”) Joint Motion for Entry of an Order Holding Ho

Wan Kwok in Civil Contempt for Failure to Comply with Temporary Restraining Order.

            2.       Attached as Exhibit 1 is a true and correct copy of excerpts from the trial

transcript of Eastern Profit Corp., Ltd. v. Strategic Vision US LLC, 18-cv-2185 (S.D.N.Y. 2021).


[1]
      The last four digits of the Debtor’s taxpayer identification number are 9595.
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       3.      Attached as Exhibit 2 a true and correct copy of excerpts from the April 6, 2022

transcript of the continuation of the 341 Meeting of Creditors held in the Debtor’s Chapter 11

Bankruptcy.

       4.      Attached as Exhibit 3 is a true and correct copy of an email sent to employees of

the Trustee’s law firm on November 26, 2022.

       5.      Attached as Exhibit 4 is a true and correct copy of an email sent to employees of

PAX’s counsel’s law firm on November 29, 2022.

       6.      On November 26, 2022, the Trustee received a voicemail from an unidentified

individual. A true and correct transcription of that voicemail is as follows: “Luc, you are CCP’s

running dog. You need to go to hell. You just did something so ridiculous and your end is so

close. F-U-C-K.”

       7.      Attached as Exhibit 5 is a true and correct copy of the email effectuating service

on Debtor’s counsel, Zeisler & Zeisler, P.C., by the Trustee’s counsel on November 23, 2022.

       8.      Attached as Exhibit 6 is a true and correct copy of the email effectuating service

on Debtor’s counsel, Melissa Francis and Aaron Mitchell, by the Trustee’s counsel on November

23, 2022.

       9.      Attached as Exhibit 7 is a true and correct copy of the Trustee’s October 11, 2022

adversary complaint against Bravo Luck and Qiang Guo (Case No. 22-05027, Dkt. No. 1).

       10.     Attached as Exhibit 8 is a true and correct copy of the 2019 New York State

Annual Filing for Charitable Organizations filed by the Rule of Law Foundation III, Inc.

       11.     Attached as Exhibit 9 is a true and correct copy of the Registration Statement for

Charitable Organizations filed with the New York State Office of the Attorney General by the

Rule of Law Foundation III, Inc.
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       12.    Attached as Exhibit 10 is a true and correct copy of an email the Trustee received

on November 25, 2022 with the subject line “i kill,” sent from fantianzhanche@protonmail.com.




 Dated: November 30, 2022                        Respectfully submitted,
 New York, New York
                                                  /s/ Douglass Barron
                                                  Douglass Barron
                                                  douglassbarron@paulhastings.com
                                                  PAUL HASTINGS
                                                  200 Park Avenue
                                                  New York, NY 10166
                                                  (212) 318-6690
                                                  (212) 230-7690

                                                  Attorney for the Trustee
